     Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 1 of 11



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16                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                 OAKLAND DIVISION

18
      WHATSAPP LLC and                                  Case No. 4:19-cv-07123-PJH
19    META PLATFORMS, INC.,             )
                                        )               REPLY MEMORANDUM OF POINTS
20                    Plaintiffs,       )               AND AUTHORITIES IN SUPPORT OF
21                                      )               PLAINTIFFS’ MOTION FOR
             v.
                                        )               ISSUANCE OF
22    NSO GROUP TECHNOLOGIES LIMITED )                  A LETTER ROGATORY
      and Q CYBER TECHNOLOGIES LIMITED, )               PURSUANT TO THE HAGUE
23                                      )               CONVENTION
                      Defendants.       )
24                                      )               DISCOVERY MATTER
25                                      )
                                        )                Ctrm: 3
26                                      )                Judge: Hon. Phyllis J. Hamilton
                                        )
27                                      )
                                        )                Action Filed: October 29, 2019
28
       REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 2 of 11



1                                                        TABLE OF CONTENTS

2
     PRELIMINARY STATEMENT .....................................................................................................1
3
     ARGUMENT ...................................................................................................................................2
4
               I.         NSO Must Show Good Reason For the Court to Deny Plaintiffs’
5                         Motion ......................................................................................................................2

6              II.        The NSO Witnesses Can Provide Testimony on Issues Important
                          to Proving Plaintiffs’ Claims ..................................................................................3
7
               III.       The Information from the NSO Witnesses Cannot Be Obtained
8                         from the Individuals That NSO Has Offered for Depositions .................................4

9              IV.        Plaintiffs’ Motion Complies With the Federal Rules of Civil
                          Procedure .................................................................................................................6
10
               V.         Plaintiffs’ Motion for Letter Rogatory Complies With This Court’s
11                        Ruling on the Richmark Factors .............................................................................8

12   CONCLUSION ................................................................................................................................8

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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 3 of 11



1                        MEMORANDUM OF POINTS AND AUTHORITIES

2                                    PRELIMINARY STATEMENT

3             Plaintiffs WhatsApp LLC and Meta Platforms, Inc.’s (“Plaintiffs”) motion for issuance of

4    letter rogatory (“Motion”) establishes the relevance and need for deposition testimony from certain

5    of Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited’s (“NSO”)

6    current and former employees. These current and former NSO employees (together, the “NSO

7    Witnesses”) likely developed, distributed, tested, or used the relevant spyware against Plaintiffs

8    and their users.1 Despite NSO’s continued refusal to engage in discovery, Plaintiffs have obtained

9    nonparty and public evidence showing that the NSO Witnesses have relevant information about

10   the development, testing, sale, and use of NSO’s spyware, and NSO’s 2019 attack,

11

12                                                .

13            NSO does not dispute the importance of the NSO Witnesses. Instead, NSO claims, without

14   support, that the three current executives that it has hand-selected for depositions (Yaron Shohat,

15   Tamir Gazneli, and Ramon Eshkar) possess such vast knowledge about NSO’s attack on

16   WhatsApp’s servers and its users that the depositions of the NSO Witnesses would be duplicative.

17   As a threshold matter, the Court need not conclude that the NSO Witnesses have unique infor-

18   mation in order to grant the Motion. Moreover, NSO’s current statements contradict its prior

19   statements to the Court. For example, NSO’s initial disclosures showed that certain of the NSO

20   Witnesses know about the topics that Plaintiffs seek to explore during depositions, and that the

21   three current executives that NSO now offers for depositions do not. Plaintiffs should not be forced

22   to trust NSO’s representations about what its proffered witnesses know when NSO has refused to

23   produce any of their documents or even provide information beyond their job descriptions. In fact,

24   as shown in the Motion, the information that Plaintiffs have obtained from

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26                                                                    .

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     1
           The NSO Witnesses are Ory Samorodnitzky, Tomer Timor, Nir Peisakhov, Michael Herman,
28         Yossi Mosingo, Alon Yudis, Shalev Hulio, Tami Mazel, Avi Itzhak, Guy Molho, and Sarit
           Bizinsky Gil.
                                                   1
     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 4 of 11



1             Finally, NSO’s makeweight objections about Plaintiffs’ compliance with the Federal Rules

2    of Civil Procedure lack any merit, and fail to satisfy NSO’s burden to deny the Motion. Plaintiffs

3    have made a carefully tailored and particularized request for assistance from the Israeli courts, and

4    have made clear that they will not exceed the limits of the Federal Rules or the scope of this Court’s

5    ruling under Richmark. NSO’s fear that Plaintiffs might end up obtaining too much information

6    carries no weight, particularly in light of NSO’s continued refusal to meaningfully participate in

7    discovery.

8             Because NSO has failed to provide good reason for the Court to deny the Motion, the Court

9    should issue the letter rogatory informing the Israeli courts of its determination that the requested

10   testimony is highly relevant and important to proving the issues in this case, and request their

11   assistance in procuring that testimony from the NSO Witnesses.

12                                              ARGUMENT

13   I.       NSO Must Show Good Reason For the Court to Deny Plaintiffs’ Motion

14            As a threshold matter, NSO misstates the standard for evaluating a motion for letter roga-

15   tory. Courts in this district have consistently ruled that the party opposing a letter rogatory motion

16   bears the burden: “motions requesting issuance of a letter of request or letter rogatory should gen-

17   erally be granted,” and “[t]he opposing party must show good reason for a court to deny an appli-

18   cation for a letter rogatory.”2 NSO knows this well, having advocated for this very standard in

19   moving for the Court to issue a letter rogatory to obtain discovery from Citizen Lab. See Dkt. No.

20   298 at 2 (citing Gardner, 2021 WL 303426, at * 2). Now that the shoe is on the other foot, NSO

21   turns to two out-of-district cases, see Dkt. No. 335-2 at 3 (citing DataQuill Ltd. v. High Tech

22   Comput. Corp., 2010 WL 11493082, at *1 (S.D. Cal. Oct. 28, 2010) and Pronova BioPharma

23

24

25   2
           SEC v. Leslie, 2009 WL 688836, at *2 (N.D. Cal. Mar. 16, 2009); accord Simon & Simon, PC
26         v. Align Tech., Inc., 2022 WL 16557638, at *3 (N.D. Cal. Oct. 28, 2022); Zoho Corp. Pvt. Ltd
           v. Freshworks, Inc., 2021 WL 2769009, at *2 (N.D. Cal. July 2, 2021); Gardner v. Starkist
27         Co., 2021 WL 303426, at *2 (N.D. Cal. Jan. 29, 2021); Successor Agency to Former Emeryville
           Redevelopment Agency v. Swagelok Co., 2020 WL 7042860, at *2 (N.D. Cal. Dec. 1, 2020);
28         see also Radware, Ltd. v. A10 Networks, Inc., 2014 WL 631537, at *2 (N.D. Cal. Feb. 18,
           2014).
                                                       2
     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 5 of 11



1    Norge AS v. Teva Pharms. USA, Inc., 708 F. Supp. 2d 450, 452 (D. Del. 2010)). Neither case

2    provides any reason for imposing a heightened standard on the party seeking a letter rogatory.

3    II.    The NSO Witnesses Can Provide Testimony on Issues Important to Proving

4           Plaintiffs’ Claims

5           The Motion establishes that the NSO Witnesses possess highly relevant knowledge on im-

6    portant issues relating to NSO’s development, distribution, testing, and use of relevant spyware

7    against Plaintiffs and their users. See Dkt. No. 319-2 at 6–10. Indeed, NSO does not challenge

8    the significance of most of the NSO Witnesses, including those whom

9                                                                 . See id. at 7–10.

10          NSO only specifically challenges the depositions of Mr. Herman and Mr. Mohlo, on the

11   basis that these individuals left NSO in early 2018. However, their departure from the company

12   does not diminish their importance to this case. NSO did not develop the spyware for the attack

13   overnight.

14

15                                       The Motion establishes that both Mr. Herman and Mr. Mohlo

16   played vital roles at NSO before their departures, and would have relevant information about

17   NSO’s development of its spyware. Mr. Herman previously trumpeted the fact that he managed

18   NSO’s Research & Development team, which was responsible for developing spyware, and “de-

19   velop[ed] the main company’s product [Pegasus].” Dkt. No. 319-2 at 8. Mr. Mohlo, a former

20   Product Management Director at NSO, drafted a product description of Pegasus spyware,

21                           and which contains 34 detailed pages about Pegasus installation, data col-

22   lection, data transmission, and maintenance. See Dkt. No. 1-1 at 25–64. Mr. Mohlo’s brochure

23   includes specific detail about NSO’s installation methods, touting the fact that NSO “installation

24   is totally silent and invisible and cannot be prevented by the target,” and calling this “NSO unique-

25   ness, which significantly differentiates the Pegasus solution from any other solution available in

26   the market.” Id. at 36. NSO’s development of the highly sophisticated spyware shows both that

27   NSO knew its access was unauthorized and that NSO breached the WhatsApp Terms of Service

28   by reverse-engineering the WhatsApp application.

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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
      Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 6 of 11



1           In an effort to preemptively cabin the scope of depositions, NSO incorrectly invokes the

2    Court’s February 23, 2024 order, which ordered NSO to produce documents related to any NSO

3    spyware targeting or directed at WhatsApp servers, or using WhatsApp in any way to access Target

4    Devices. Dkt. No. 292 at 3. As part of that ruling, the Court ordered document production “for a

5    period of one year before the alleged attack to one year after the alleged attack; in other words,

6    from April 29, 2018 to May 10, 2020.” Id. at 4. But the Court made clear that this was the

7    “timeframe of documents that must be produced.” Id. (emphasis added). Certainly, this Court’s

8    order gave no indication that Plaintiffs were barred from deposing NSO employees who left the

9    company before April 29, 2018. Even if NSO faces some burden in producing documents from

10   outside this time range, NSO Witnesses face no similar burden in answering questions about their

11   recollections of relevant events they actually participated in, regardless of timeframe. Moreover,

12   the Court added that Plaintiffs may seek to expand the time range “after reviewing the relevant

13   spyware from that timeframe,” if such document discovery provides “evidence that any attack

14   lasted beyond that timeframe.” Id. Because of NSO’s continued stonewalling, Plaintiffs have yet

15   to receive any document discovery related to the relevant spyware, and should not be preemptively

16   precluded from deposing witnesses based on NSO’s failure to participate in discovery. The Court

17   should not reward NSO for its refusal to produce documents.

18   III.   The Information from the NSO Witnesses Cannot Be Obtained from the Individuals

19          That NSO Has Offered for Depositions

20          Unable to show that any of the NSO Witnesses lack highly relevant knowledge, NSO in-

21   stead argues that depositions of the NSO Witnesses would be “duplicative and cumulative” of the

22   depositions of the witnesses that NSO has offered, and that “Plaintiffs may therefore obtain the

23   testimony that they seek from existing witnesses.” Dkt. No. 335-2 at 5. This argument is both

24   legally and factually meritless.

25          For one, “[n]either Rule 26 nor any other authority supports” NSO’s argument that all of

26   the NSO Witnesses must possess “unique information.” In re Cathode Ray Tube (CRT) Antitrust

27   Litig., 2014 WL 4954634, at *4 (N.D. Cal. Oct. 1, 2014); accord Simon & Simon, 2022 WL

28   16557638, at *4. In granting a motion for letter rogatory to seek depositions abroad, the court in

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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 7 of 11



1    Zoho noted that “there is no requirement that a third party must be able to provide unique infor-

2    mation in order to depose them.” 2021 WL 2769009, at *4. Even if the testimony from the NSO

3    Witnesses overlaps with the testimony from the witnesses that NSO has offered, Plaintiffs are

4    entitled to have the opportunity to “question percipient witnesses and to test the veracity of

5    [NSO’s] representations.” Id.

6           But more importantly, NSO’s contention that the NSO Witnesses have “no unique

7    knowledge that the agreed-upon witnesses cannot provide,” Dkt. No. 335-2 at 5, is incorrect. For

8    instance, NSO suggests that Mr. Gazneli, NSO’s Vice President of Research and Development,

9    possesses such extensive knowledge on “technical topics” and “research and development” that

10   the seven NSO Witnesses with technical expertise would all offer duplicative testimony. Id. at 4.

11   Yet NSO offers no specifics about Mr. Gazneli beyond the fact that he has had “various research-

12   and-development positions” since 2015. Id. Moreover, Plaintiffs have no way to verify this claim,

13   given that NSO has refused to produce any documents from Mr. Gazneli or from any of the poten-

14   tial NSO deponents. In addition, this description cannot be squared with NSO’s initial disclosures,

15   which asserted that Mr. Gazneli was knowledgeable only about NSO’s “policies, procedures and

16   practices,” while Mr. Itzhak was knowledgeable about the “research and development of Pegasus.”

17   Dkt. No. 319-4, Ex. A at 2. Plaintiffs’ detailed descriptions of Mr. Samorodnitzky, Mr. Mosingo,

18   Mr. Yudis, Mr. Peisakhov, and Mr. Herman in the Motion show that they all possess highly rele-

19   vant and important knowledge regarding

20                                       . Dkt. No. 319-2 at 7–8.

21          Similarly, NSO fails to show that the depositions of Mr. Shohat, its Chief Executive Of-

22   ficer, or Mr. Eshkar, its Vice President, Client Executives, render all other testimony about NSO’s

23   sales strategies and business operations duplicative. Here too, NSO fails to identify the specific

24   expertise possessed by Mr. Shohat or Mr. Eshkar that would render all other depositions unneces-

25   sary (even if that was the standard). NSO instead just lists the employment dates and titles that

26   Mr. Shohat and Mr. Eshkar have had while at NSO. Dkt. No. 335-2 at 4. Especially because NSO

27   has not produced a single document from either of these witnesses, deposing other witnesses will

28   “test the veracity of the defendants’ representations.” Simon & Simon, 2022 WL 16557638, at *4.

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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 8 of 11



1    And as the Motion sets out, Mr. Timor, Mr. Hulio, Mr. Mazel, and Mr. Molho all have individu-

2    alized knowledge that Mr. Shohat and Mr. Eshkar do not. Dkt. No. 319-2 at 7–9. 3 In addition,

3    NSO should also be required to produce Ms. Gil, who NSO described in its initial disclosures as

4    possessing knowledge regarding “NSO Group’s contracts with its Customers.” Dkt. No. 319-4,

5    Ex. A at 2. NSO identified no other witnesses in its initial disclosures as possessing such infor-

6    mation.

7    IV.      Plaintiffs’ Motion Complies With the Federal Rules of Civil Procedure

8             NSO falls back on the argument that Plaintiffs’ request violates two separate provisions

9    of the Federal Rules of Civil Procedure. Not so.

10            First, as highlighted on the first page of the Motion, Plaintiffs will comply with Rule 30.

11   Mot. at 1 n.2. Plaintiffs reiterate that they will not schedule, let alone take, more than ten deposi-

12   tions without seeking leave of Court. As such, NSO need not expend any resources “preparing all

13   eleven deponents.” Dkt. No. 335-2 at 8. And if NSO wanted to ensure that no effort would be

14   wasted, it could engage in good-faith negotiations with Plaintiffs’ counsel about producing addi-

15   tional witnesses without forcing Plaintiffs to resort to the Hague Convention. Despite misconstru-

16   ing Plaintiffs’ strategy as an unsupported request for a “preemptive” order for leave to take more

17   than ten depositions, id., NSO provides no authority for the relief that it seeks: a preemptive denial

18   of a motion for letter rogatory based on speculation that Plaintiffs, who have yet to take a single

19   deposition, might end up taking more than ten. See Successor Agency to Former Emeryville Re-

20   development Agency, 2020 WL 7042860, at *3 (finding that “it is reasonable for plaintiffs to bring

21   this motion now, rather than wait until they have exhausted all other possible sources of relevant

22   testimony”).

23            In all events, the information that Plaintiffs have developed on the NSO Witnesses—based

24   purely on nonparty discovery and public information—satisfies the “particularized showing” re-

25   quired to take additional depositions. C & C Jewelry Mfg., Inc. v. West, 2011 WL 767839, at *1

26   (N.D. Cal. Feb. 28, 2011). NSO has produced just 17 of its own documents thus far, meaning that

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28   3
           Mr. DiVittorio and Mr. Shaner will provide a separate piece of the story, about NSO’s efforts
           to market spyware in the United States through its affiliate Westbridge Technologies.
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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 9 of 11



1    Plaintiffs may be deprived of meaningful document discovery. As such, deposition testimony may

2    be the only way for Plaintiffs to obtain information about NSO’s attacks using the relevant spy-

3    ware. Given NSO’s conduct to date, the fear that Plaintiffs will have too much discovery is un-

4    founded.

5             Second, NSO’s argument that Plaintiffs’ letter rogatory violates Rule 28(c) is even further

6    afield. Rule 28(c) governs the neutrality of the court reporter. See Jones v. Wells Fargo Home

7    Mortg., Inc., 2018 WL 6272897, at *8 (E.D.N.C. Nov. 30, 2018) (“Rule 28(c) concerns the court

8    reporter . . . .”); Vargas v. CH Hosp. Mgmt., LLC, 2014 WL 2930462, at *3 (E.D.N.Y. June 27,

9    2014) (noting that the purpose of Rule 28(c) is to “preserve [the] neutrality” of the court reporter).

10   Plaintiffs’ letter rogatory requested that Plaintiffs’ attorneys serve as the “attorneys or juridical

11   officers” taking the deposition, “that the examination be taken before a commercial stenographer

12   and videographer selected by Plaintiffs,” and “that the stenographer be allowed to record a verba-

13   tim transcript of the examination.” Dkt. No. 319-2 at App’x A, 7–8. Unsurprisingly, courts in this

14   district have repeatedly issued letters rogatory where the requesting party appoints its own attor-

15   neys as juridical officers, which merely signals the party that will take the deposition, not the

16   individual that will record it. See, e.g., Signed Letter Rogatory at 4, Meta Platforms, Inc. v.

17   BrandTotal Ltd., No. 3:20-cv-07182-JCS (N.D. Cal. Nov. 22, 2021), ECF No. 203 (“Plaintiff re-

18   quest[s] that [plaintiffs’ counsel] be appointed as the attorneys or juridical officers to preside over

19   the testimony given at the deposition.”); Signed Letter of Request at 16, Successor Agency to For-

20   mer Emeryville Redevelopment Agency v. Swagelok Co., No. 3:17-cv-00308-WHO (N.D. Cal.

21   Dec. 1, 2020), ECF No. 184 (“US counsel for the Plaintiffs be permitted to conduct the examina-

22   tion of witnesses.”).4

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26         NSO’s novel reading of Rule 28(c) also ignores Rule 28(b)(4), which explicitly provides for
           more flexible standards when depositions are taken abroad pursuant to letters rogatory: “Evi-
27         dence obtained in response to a letter of request need not be excluded merely because it is not
           a verbatim transcript, because the testimony was not taken under oath, or because of any similar
28         departure from the requirements for depositions taken within the United States.” Fed. R. Civ.
           P. 28(b)(4).
                                                         7
     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 10 of 11



1    V.     Plaintiffs’ Motion for Letter Rogatory Complies With This Court’s Ruling on the

2           Richmark Factors

3           Finally, NSO’s attempt to revisit the Richmark analysis should be rejected. The specific

4    topics for potential testimony listed in Plaintiffs’ letter rogatory precisely mirror the topics that

5    NSO has already conceded are sufficiently important and specific under Richmark, and that the

6    Court has ordered to be produced. See Dkt. No. 292 at 3. For those topics, the Court has already

7    concluded that any Israeli law restrictions, which may not apply to nonparties to this litigation, do

8    not prevent compliance with U.S. discovery obligations. NSO offers no authority for its request

9    that Plaintiffs draft their deposition questions now and submit them to the Court for a question-by-

10   question review—an unworkable process that would severely prejudice Plaintiffs.

11                                            CONCLUSION

12          Plaintiffs respectfully request that the Court sign the letter rogatory appended to the Mo-

13   tion and grant the proposed order so that Plaintiffs may transmit the letter of request to the Cen-

14   tral Authority of the State of Israel and seek discovery from the NSO Witnesses in Israel.

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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH Document 342 Filed 07/17/24 Page 11 of 11



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     REPLY MEMO. IN SUPPORT OF PLAINTIFFS’ MOTION FOR ISSUANCE OF LETTER ROGATORY
     CASE NO. 4:19-CV-07123-PJH
